 

Untied States Oisting Court

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UNITED STATES DISTRICT COURT. NOVI 9 2019 =
SOUTHERN DISTRICT OF TEXAS. -
McALLEN DIVISION David +. Brady, Cet
UNITED STATES OF AMERICA - § a | S
v. § Criminal No. je 1 9-=7333
§ " oo
‘NEOISES VARGAS.
TN: MOISES RENAN VARGAS ISH 11-26-2019 S
. AMENDED SEALED INDICTMENT
. THE GRAND JURY CHARGES: .
On or about April 2, 2019, in the Southern District of Texas, and within the jurisdiction of
the court, the defendant,
. MOISES.RENAN VARGAS
MOISESVARTAK

did d knowingly possess. a machinegun, to wit: a Glock Auto Switch.

‘In violation of Title 18, United States Code, Sections’ 722(0) and 924(a)(2).

"A TRUE BILL

 

| GOREPERSON -/ a
RYANK: PATRICK
UNITED STATES ATTORNEY

WL

ASSISTANT UNITED STATES ATTORNEY

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